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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

AMY VOLPE,

             Plaintiff,                             Case No. 18-cv-12517
                                                    Hon. Matthew F. Leitman
v.

MARYSVILLE PUBLIC SCHOOLS, et al.,

          Defendants.
__________________________________________________________________/

                ORDER GRANTING PLAINTIFF’S
      MOTION TO FILE AN AMENDED COMPLAINT (ECF No. 24.)

      On July 17, 2020, the Court held a hearing on Plaintiff Amy Volpe’s pending

motion to file an amended Complaint. (See Mot., ECF No. 24.) For the reasons

explained on the record during the hearing, the motion is GRANTED as follows.

Volpe shall file her Amended Complaint by no later than July 24, 2020. Volpe shall

also appear, by video, for a continued deposition by no later than August 14, 2020.

The deposition shall last no more than 90 minutes and shall be strictly limited to

questions that relate to Volpe’s newly pleaded retaliation claim. Volpe’s counsel

shall pay Defendants’ counsel for one hour of Defendants’ counsel’s time to prepare

for and conduct the continued deposition. Finally, Defendants shall file an answer

to the Amended Complaint sufficiently in advance of Volpe’s continued deposition

so that Volpe has an opportunity to review that pleading prior to her deposition.


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      The parties may file renewed motions for summary judgment by no later than

September 28, 2020.

      IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
Dated: July 17, 2020                  UNITED STATES DISTRICT JUDGE

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on July 17, 2020, by electronic means and/or
ordinary mail.



                                      s/Holly A. Monda
                                      Case Manager
                                      (810) 341-9764




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